       Case 2:13-cr-00227-DAD Document 59 Filed 11/22/13 Page 1 of 3


 1

 2

 3

 4                        UNITED STATES DISTRICT COURT

 5                       EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,            No. 2:13-cr-00227-GEB
 8                 Plaintiff,
                                          RELATED CASE ORDER
 9        v.
10   JOSE ENRIQUE VELARDES
     ZAZUETA, aka Julio Cesar
11   Machado Lopez; JESUS RAMON
     MACHADO LOPEZ; FRANCISCO
12   PARRA ARELLANEZ, aka Kiko,
     aka Chino; MARIA D. ARELLANEZ
13   RIOS, aka Dona Chuy; JUAN
     ALAMILLA GUZMAN; OMAR ADRIAN
14   GONZALEZ NUNO, aka Centella;
     VERENYS PARRA ARELLANEZ;
15   JOVANY ROMO ARELLANES, aka
     Mantequilla; YU NUNG CHEN;
16   and EFRAIN PADILLA PENA,
17                 Defendants.
18
     UNITED STATES OF AMERICA,            No. 2:13-cr-00331-GEB
19
                   Plaintiff,
20
          v.
21
     ADELA GUERRERO, and BLANCA
22   GUERREO,
                 Defendants.
23
     UNITED STATES OF AMERICA,            No. 2:13-cr-00335-GEB
24
                   Plaintiff,
25
          v.
26
     CASSANDRA LYNN ROSS-MORALES,
27
                  Defendant.
28
                                          1
       Case 2:13-cr-00227-DAD Document 59 Filed 11/22/13 Page 2 of 3


 1   UNITED STATES OF AMERICA,                 No. 2:13-cr-00337-LKK

 2                    Plaintiff,
 3        v.
 4   PAUL DOUGLAS WHITE, and
     GREGORY MAYO,
 5
                      Defendant.
 6

 7

 8               On    November    20,     2013,    the   United   States    of   America
 9   filed a “Notice of Related Cases,” (ECF No. 58), in which it
10   states:
11               Pursuant to Local Rule 123, the [above-
                 referenced] cases involve the same parties
12               and much of the same evidence of drug
                 trafficking,       including      intercepted
13               communications. Further, reassignment of the
                 cases to the same district judge is “likely
14               to effect a substantial savings of judicial
                 effort” because it will necessarily avoid the
15               “substantial duplication of labor” by the
                 judiciary of this district, including any
16               issues regarding discovery or admissibility
                 of evidence and any questions of law that may
17               arise thereto. See EDCA L.R. 123(a)(3)-(4).
18               For the foregoing reasons, the United States
                 believes that the above-captioned cases are
19               related within the meaning of Local Rule 123.
                 Consequently, the United States respectfully
20               requests that United States v. White, et al.,
                 Case No. 2:13-cr-337 LKK be reassigned to the
21               Honorable   Garland  E.   Burrell,  Jr.,   in
                 accordance with the provisions of the Local
22               Rules of this district.
23   (Notice of Related Cases 3:5-14.)
24               Examination of the above-entitled actions reveals they
25   are related within the meaning of Local Rule 123. Under the
26   regular    practice     of    this    court,    related   cases   are    generally
27   assigned    to    the   judge    to    whom    the    first   filed    action   was
28
                                               2
       Case 2:13-cr-00227-DAD Document 59 Filed 11/22/13 Page 3 of 3


 1   assigned. Therefore, action No. 2:13-cr-00337-LKK is reassigned

 2   to the undersigned judge for all further proceedings, and the

 3   caption on the reassigned cases shall show the initials “GEB.”

 4   Further,   any    date   currently   set    in    the    reassigned   case    is

 5   VACATED. The Clerk shall make an appropriate adjustment in the

 6   assignment of criminal cases to compensate for this reassignment.

 7              IT    IS   FURTHER   ORDERED    that   a     Status   Conference   is

 8   scheduled to commence at 9:00 a.m. on December 13, 2013, in

 9   action No. 2:13-cr-00337.

10              Dated:     November 21, 2013

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          3
